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      Attorney(s) for Display Technologies, LLC
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  7
                      IN THE UNITED STATES DISTRICT COURT
  8                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
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 10
       DISPLAY TECHNOLOGIES, LLC,
                                                      CASE NO. 8:22-cv-00062
 11                       Plaintiff,
                                                      PATENT CASE
 12    v.
                                                      JURY TRIAL DEMANDED
 13
       ETEKCITY CORPORATION,
 14
                          Defendant.                  COMPLAINT
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 17
            Plaintiff Display Technologies, LLC (“Plaintiff” or “Display”) files this
 18
      Complaint against Etekcity Corporation (“Defendant” or “Etekcity”) for infringement
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      of United States Patent No. 9,300,723 (the “ ‘723 Patent”).
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                               PARTIES AND JURISDICTION
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            1.     This is an action for patent infringement under Title 35 of the United
 22
      States Code. Plaintiff is seeking injunctive relief as well as damages.
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            2.     Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331
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      (Federal Question) and 1338(a) (Patents) because this is a civil action for patent
 25
      infringement arising under the United States patent statutes.
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            3.     Plaintiff is a Texas limited liability company with an address of 1 East
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      Broward Boulevard, Suite 700, Ft. Lauderdale, FL 33301.
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  1          4.     On information and belief, Defendant is an Iowa corporation with a
  2   principal place of business at 1202 N Miller St, Unit A, Anaheim CA 92806. On
  3   information and belief, Defendant may be served through its agent, California
  4   Registered Agent, Inc., 1401 21st St, Suite 370, Sacramento, CA 95811.
  5          5.     This Court has personal jurisdiction over Defendant because Defendant
  6   has committed, and continues to commit, acts of infringement in this District, has
  7   conducted business in this District, and/or has engaged in continuous and systematic
  8   activities in this District.
  9          6.     Upon information and belief, Defendant’s instrumentalities that are
 10   alleged herein to infringe were and continue to be used, imported, offered for sale,
 11   and/or sold in this District.
 12                                           VENUE
 13          7.     On information and belief, venue is proper in this District under 28
 14   U.S.C. § 1400(b) because Defendant is a resident of this District. Alternatively, acts
 15   of infringement are occurring in this District and Defendant has a regular and
 16   established place of business in this District.
 17                                          COUNT I
 18         (INFRINGEMENT OF UNITED STATES PATENT NO. 9,300,723)
 19          8.     Plaintiff incorporates paragraphs 1 through 7 herein by reference.
 20          9.     This cause of action arises under the patent laws of the United States
 21   and, in particular, under 35 U.S.C. §§ 271, et seq.
 22          10.    Plaintiff is the owner by assignment of the ‘723 Patent with sole rights
 23   to enforce the ‘723 Patent and sue infringers.
 24          11.    A copy of the ‘723 Patent, titled “Enabling social interactive wireless
 25   communications,” is attached hereto as Exhibit A.
 26          12.    The ‘723 Patent is valid, enforceable, and was duly issued in full
 27   compliance with Title 35 of the United States Code.
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  1         13.    Defendant has infringed and continues to infringe one or more claims,
  2   including at least Claim 1 of the ‘723 Patent by making, using, and/or selling media
  3   systems covered by one or more claims of the ‘723 Patent. For example, Defendant
  4   makes, uses, and/or sells the VeSync application, Etekcity BP monitor, associated
  5   software, hardware and/or apps, and any similar products (“Product”). At a minimum
  6   by internal testing, Defendant has infringed and continues to infringe the ‘723 Patent
  7   in violation of 35 U.S.C. § 271.
  8         14.    Regarding Claim 1, the Product is a media system. The Product includes
  9   a media system (e.g., health app) configured to allow a user to view a media file (e.g.,
 10   health data) from a medical device by a media terminal (e.g., smartphone) from a
 11   media node (e.g., medical device) over a communication network (e.g., Bluetooth
 12   network) through a communication link. Certain aspects of this element are illustrated
 13   in the screenshots below and/or those provided in connection with other allegations
 14   herein.
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            15.   The Product includes at least one media terminal disposed in an
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      accessible relation to at least one interactive computer network. For example, the
 17
      Bluetooth network is used for sending health data from a media node (medical device)
 18
      by detecting a smartphone (at least one media terminal) when the Product’s app is
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      installed on the smartphone and connected with the Product’s media node through a
 20
      Bluetooth network (i.e., the smartphone is in an accessible relationship with the
 21
      interactive computer network). Certain aspects of this element are illustrated in the
 22
      screenshots below and/or in those provided in connection with other allegations
 23
      herein.
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 17         16.   A wireless range is structured to permit authorized access to the at least
 18   one interactive computer network. For example, the Bluetooth signals of the Product’s
 19   medical device (media node) have a range within which the smartphone (media
 20   terminal) may connect.
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            17.   At least one media node is disposable within the wireless range, wherein
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      the at least one media node is detectable by the at least one media terminal. For
 16
      example, the Product’s medical device (media node) is detectable by the media
 17
      terminal (smartphone). Certain aspects of this element are illustrated in the
 18
      screenshots below and/or those provided in connection with other allegations herein.
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 17         18.    At least one digital media file is initially disposed on at least one of the
 18   at least one media terminal or the at least one media node and the at least one media
 19   terminal is structured to detect the at least one media node disposed within the
 20   wireless range. For example, the health data is initially disposed on the media node
 21   (medical device/monitor) and the media terminal can detect the medical device when
 22   it is within the appropriate range. Certain aspects of this element are illustrated in the
 23   screenshots below and/or those provided in connection with other allegations herein.
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             19.   A communication link is structured to dispose the at least one media
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       terminal and the at least one media node in a communicative relation with one another
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       via the at least one interactive computer network. For example, the smartphone and
  17
       medical device are in a communicative relation over the Bluetooth network.
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             20.   The communication link is initiated by the at least one media terminal.
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       For example, when the user turns on Bluetooth on the smartphone (media terminal),
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       the smartphone initiates the communication link.
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  17         21.    The at least one media node and the at least one media terminal are

  18   structured to transmit the at least one digital media file there between via the

  19   communication link. For example, the smartphone/app and the medical device are

  20   structured to transmit health data from the device to the smartphone over the wireless

  21   network.

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             22.    The communication link is structured to bypass at least one media
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       terminal security measure for a limited permissible use of the communication link by
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       the media node to only transferring the at least one digital media file to, and displaying
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       the at least one digital media file on, the at least one media terminal. For example, the
  18
       communication link is structured so that whenever the user installs the Product’s app
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       on the smartphone (media terminal), the smartphone automatically connects
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       (bypassing any security measures) with the Product’s medical device through
  21
       Bluetooth code (i.e., media terminal security) whenever the smartphone comes to the
  22
       range of the Bluetooth signals (for the limited purpose of transferring data form the
  23
       device to the smartphone).
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             23.    Defendant’s actions complained of herein will continue unless

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       Defendant is enjoined by this court.

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             24.    Defendant’s actions complained of herein are causing irreparable harm

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       and monetary damage to Plaintiff and will continue to do so unless and until

  21
       Defendant is enjoined and restrained by this Court.

  22
             25.    Plaintiff is in compliance with 35 U.S.C. § 287.

  23
                                           JURY DEMAND

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             26.    Under Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff

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       respectfully requests a trial by jury on all issues so triable.

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   1                                   PRAYER FOR RELIEF
   2         WHEREFORE, Plaintiff asks the Court to:
   3         (a)    Enter judgment for Plaintiff on this Complaint on all causes of action
   4   asserted herein;
   5         (b)    Enter an Order enjoining Defendant, its agents, officers, servants,
   6   employees, attorneys, and all persons in active concert or participation with Defendant
   7   who receive notice of the order from further infringement of United States Patent No.
   8   9,300,723 (or, in the alternative, awarding Plaintiff running royalties from the time of
   9   judgment going forward);
  10         (c)    Award Plaintiff damages resulting from Defendant’s infringement in
  11   accordance with 35 U.S.C. § 284;
  12         (d)    Award Plaintiff pre-judgment and post-judgment interest and costs; and
  13         (e)    Award Plaintiff such further relief to which the Court finds Plaintiff
  14   entitled under law or equity.
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  16   Dated: January 12, 2022                Respectfully submitted,
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                                              /s/Stephen M. Lobbin
  18                                          Attorney(s) for Plaintiff
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